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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


BRIA ADKINS, on behalf of herself and all
others similarly situated,

               Plaintiff,

v.                                                       No. 1:18-cv-01680


NAVIENT CORPORATION, NAVIENT
SOLUTIONS, LLC, and PIONEER CREDIT
RECOVERY, INC.,

               Defendants.


                                     JOINT STATUS REPORT

        Pursuant to the Court’s Case Management Procedures, plaintiff Bria Adkins (“Plaintiff”)

and defendants Navient Corporation (“Navient Corp.”), Navient Solutions, LLC (“NSL”), and

Pioneer Credit Recovery, Inc. (“Pioneer” and, with Navient Corp. and NSL, “Defendants”), submit

the following joint status report:


     A. The Status Hearing

        This matter is set for a status hearing before the Court on June 6, 2018 at 9:10 a.m.

     B. Attorneys of Record

        For Plaintiff Bria Adkins:
        Keith James Keogh (expected trial counsel) and Timothy J. Sostrin of Keogh Law, Ltd.
        Richard John Meier of Meier, LLC
        Lance A. Raphael and Craig Rein Frisch of Consumer Advocacy Center, P.C.
        Christopher Davis Kruger of Kruger and Gruber, LLP

        For Defendants Navient Corporation, Navient Solutions, LLC, and Pioneer Credit
        Recovery, Inc.:
        Lisa M. Simonetti (expected trial counsel) of Vedder Price (CA), LLP, and Bryant K.
        Clark and Madeline V. Tzall of Vedder Price PC


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   C. The Basis of Federal Jurisdiction

               The Court has Federal Question Jurisdiction over the case, as all claims are

       brought under the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227.

   D. Jury Demands

               All parties have demanded a trial by jury.

   E. Nature of the Claims

               Plaintiff brings two claims on behalf of a proposed class of similarly situated

       individuals: one for negligent violations of the TCPA and one for knowing and/or willful

       violations of the TCPA. Both claims arise from alleged violations of 47 U.S.C. §

       227(b)(1)(A)(iii), which prohibits automated calls to cellular telephone numbers without

       the prior express consent of the called party. There are no counterclaims.

               Plaintiff’s Position

               Plaintiff generally alleges as follows: Defendants are related entities that service

       educational loans, including one such loan to Plaintiff’s mother. Defendants attempt to

       collect payment on such education loans by, among other things, placing automated calls

       to the relatives and acquaintances of the borrowers. Defendants obtain the telephone

       numbers of those relatives and acquaintances from third party skip tracing services.

       Defendants used one such service to obtain Plaintiff’s cellular telephone number in order

       to collect on her mother’s loan and placed numerous automated telephone calls to

       Plaintiff’s cellular telephone number regarding her mother’s loan.

               Defendant’s Position

               Pioneer made the telephone calls to Plaintiff through a manual process;

       accordingly, Pioneer did not violate the TCPA. .Further, Pioneer made the calls in


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       connection with efforts to locate the borrower, not to collect from Plaintiff. Navient

       Corp. is improperly named as a defendant. Navient Corp. is a holding company and the

       ultimate parent of Pioneer and NSL, but Navient Corp. does not engage in any loan

       servicing activities. NSL also is improperly named as a defendant. NSL is a loan

       servicing company, but it did not make calls to Plaintiff.

   F. Relief Sought

               Plaintiff seeks class certification, and for each member of the class, statutory

       damages in the amount of $500 for each negligent violation of the TCPA, treble those

       damages for each knowing and/or willful violation of the TCPA, and attorneys’ fees and

       costs. Plaintiff also seeks injunctive relief prohibiting Defendants from placing

       automated calls to any persons other than the borrower.

   G. Service of Process

               All parties have been served with process.

   H. Principal Legal Issues

               Whether any defendant used an “automatic telephone dialing system” as defined

       by the TCPA in calling Plaintiff.

               Plaintiff’s Authorities: Blow v. Bijora, Inc., 855 F.3d 793, 800-801 (7th Cir.

       2017), citing In re Rules & Regulations Implementing the Telephone Consumer

       Protection Act of 1991, 18 FCC Rcd. 14014, 14093 (2003) and In re Rules and

       Regulations Implementing the Telephone Consumer Protection Act of 1991, 23 FCC Rcd.

       559, 566 (2008);

               Defendant’s Authorities: ACA International v. Federal Communications

       Commission, 885 F.3d 687 (D.C. Cir. 2018) (vacating In re Rules and Regulations




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       Implementing the Telephone Consumer Protection Act of 1991, 30 FCC Rcd. 7961

       (2015).

                  Whether a class should be certified. Ira Holtzman, C.P.A., & Assocs. v. Turza,

       728 F.3d 682, 684 (7th Cir. 2013)

                 Plaintiff also submits the following additional principal legal issues: whether

       Defendants’ loan documents provide prior express consent to autodial the cellular

       telephone numbers of the borrowers’ relatives and acquaintances. Blow, 855 F.3d at 803-

       805. and whether defendants Navient Corp. and NSL are vicariously liable for calls

       placed by Pioneer.

   I. Principal Factual Issues

                 The Communications between the parties and the events and circumstances

       surrounding those communications;

                 The operations, functions, and capabilities of the dialing systems used to place the

       calls at issue;

                 The applicable Defendants’ policies, practices, and procedures for obtaining the

       telephone numbers of borrower’s relatives and acquaintances;

                 The applicable Defendants’ policies, practices, and procedures, if any, for

       obtaining consent to call the telephone numbers of borrowers’ relatives and

       acquaintances;

                 The extent of applicable Defendants’ records, or any third party vendors’ records,

       documenting the skip tracing events by which it obtained the contact information for

       borrowers’ relatives and acquaintances;

                 The extent of the applicable Defendants’ records, or any third party vendors’



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       records, documenting the calls it placed to the borrowers’ relatives and acquaintances;

               The extent of the applicable Defendants’ records, or any third party vendors’

       records, documenting the contact information of its borrowers’ relatives and

       acquaintances;

               The relationship between the defendants and communications between the

       defendants concerning the account at issue

   J. Anticipated Motions

               Plaintiff intends to move for class certification after obtaining discovery relating

       to the class. Pioneer may move to stay pending future proceedings before the Federal

       Communications Commission in light of the ruling in ACA International and/or for

       summary judgment.

   K. Proposed Discovery Plan

               No discovery has been taken to date. The parties propose to take discovery

       (including written interrogatories, requests for production, requests for admission, and

       depositions) relevant to each of the Factual Issues identified above, and related issues.

       The parties propose the following discovery schedule:

               Initial Disclosures:                           June 27, 2018

               Expert Disclosures:                            December 8, 2018

               Depositions of Expert Witnesses:               January 18, 2019

               Close of Discovery:                            February 8, 2019

   L. Trial

               The earliest date the parties would be ready for trial is August 12, 2019 and the

       probable length of trial is 3-5 days.



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   M. Settlement Discussions

               The parties are open to private mediation, but believe that mediation is not likely

       to be productive until after discovery has been conducted.

   N. Consent to Trial before a Magistrate Judge

               The parties do not consent to trial by a magistrate judge.



       Respectfully Submitted,




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       /s/ Lisa M. Simonetti                     /s/ Timothy J. Sostrin
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